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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: CHINESE-MANUFACTURED MDL NO. 2047
DRYWALL PRODUCTS LIABILITY SECTION: L
LITIGATION JUDGE FALLON
MAG. JUDGE WILKINSON

THIS DOCUMENT RELATES TO:

Germano, et al. v. Taishan Gypsum Co.,
Ltd., f/k/a Shandong Taihe Dongxin Co.
Ltd., et al., Case No. 2:09-cv-6687 (E.D.La.)

PLAINTIFFS' MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
DEFAULT JUDGMENT AGAINST TAISHAN GYPSUM CO., LTD

I. INTRODUCTION

Plaintiffs, Michelle Germano, Dennis and Sharon Jackson, Jason and Lisa Dunaway,
collectively brought a class action on behalf of themselves and all other similarly situated owners
and landlords against Taishan Gypsum Co., Ltd., f/k/a Shandong Taihe Dongxin Co., Ltd.
(“Taishan”); Tobin Trading Inc. (“Tobin”); Venture Supply Inc. (“Venture”), Harbor Walk
Development, LLC (“Harbor Walk’’), and The Porter-Blaine Corp. (“Porter-Blaine’”’).

Plaintiffs perfected service of the complaint on Taishan on August 3, 2009. To date,
Taishan has failed to enter an appearance, answer, or otherwise respond to the Plaintiffs’
complaint. Since Taishan has not responded to the Plaintiffs’ complaint, Plaintiffs request that
the Court enter a default judgment against Taishan in favor of Plaintiffs and the class they seek
to represent in accordance with Fed.R.Civ.P. 55 and this Court’s Minute Entry dated August 11,
2009.

II. FACTS

Plaintiffs filed their initial complaint in the Eastern District of Virginia on May 1, 2009.

See Declaration of Arnold Levin, filed herewith, Exhibit “B”. Thereafter, on May 26, 2009,

Plaintiffs filed the First Amended Complaint. Jd. On August 3, 2009, Plaintiffs received notice
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that service of process of the First Amended Complaint was perfected on Taishan. See Levin
Declaration, Exhibit “A”. Plaintiffs case was then transferred to MDL 2047 on October 13,
2009. Subsequent to the transfer, Plaintiffs moved to amend the First Amended Complaint by
interlineation on October 30, 2009. Plaintiffs motion to amend by interlineation was granted by
order dated November 18, 2009.
Plaintiffs Second Amended Class Action Complaint (the “Complaint”) proposes the
following class action against Taishan:
All owners and landlords of real properties located in the United
States containing defective Chinese drywall manufactured, sold,
distributed, supplied, marketed, inspected, imported or delivered
by Taishan Gypsum Co. Ltd.

See Complaint at  32.'

The Complaint asserts claims against Taishan and the other defendants for negligence,
negligence per se, breach of express and/or implied warranties, breach of contract, private
nuisance, unjust enrichment, violation of the Virginia Consumer Protection Act and for equitable
injunctive and medical monitoring.

As of the filing of this motion, Taishan has not filed an answer or otherwise responded to

Plaintiffs’ Complaint, the First Amended Complaint, and/or the Second Amended Complaint.

Hr. ARGUMENT

The entry of a default judgment is governed by Fed.R.Civ.Proc. 55, which states in

pertinent part:

' Tn the First Amended Class Action Complaint, the Plaintiffs sought a Virginia class
against Taishan, Tobin Trading Inc. (“Tobin”) and Venture Supply Inc. (“Venture”) and a
subclass against Harbor Walk Development, LLC (“Harbor Walk”) and The Porter-Blaine Corp
(“Porter-Blaine”). In the Second Amended Class Action Complaint, Plaintiffs amended the class
definition to assert a national class against Taishan and two subclasses (Tobin/Venture) and
(Harbor Walk/Porter-Blaine). For each of these subclasses, Plaintiffs are limiting the class
definitions to owners of residential homes in Virginia.

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When a party against whom a judgment for affirmative relief is
sought has failed to plead or otherwise defend, and that failure is
shown by affidavit or otherwise, the clerk must enter the party’s
default...

[In cases where the plaintiffs claim is for a sum that is not certain

and cannot be made certain by computation], the party must apply

to the court for a default judgment...If the party against whom a

default judgment is sought has appeared personally or by a

representative, that party or its representative must be served with

written notice of the application at least 3 days before the hearing...
Fed.Rule.Civ.Proc. 55. Pursuant to Fed.Rule Civ. Proc. 12, a defendant must serve an answer

within 20 days after being served with the summons and complaint. Fed.R.Civ.Proc.
12(a)(1)(A)@).

Here, Plaintiffs received on August 3, 2009, documentation reflecting service of the
Complaint and summons on Taishan. See Ex. A. Thus, Taishan’s deadline for serving its
responsive pleading was, at the latest, August 24, 2009. As of this date, no responsive pleading
has been filed.

Taishan has failed to respond to Plaintiffs’ Complaint or otherwise defend this matter.
As the Fifth Circuit has explained, mere acceptance of service does not constitute an appearance
for purposes of Fed.R.Civ.Proc. 55(b)(2). Rogers v. Hartford Life and Acc. Ins. Co., 167 F.3d
933, 937 (5" Cir. 1999). Thus, plaintiffs need not notify Taishan of the present motion for
default.

This Court has publicly warned defendants of their obligation to appear or risk default:

IT IS ORDERED that Pretrial Order #1, Paragraph 8 regarding
EXTENSION AND STAY be and is hereby MODIFIED to reflect
that those who have been served and who have not made an
appearance will be subject to default. The Court instructed the
parties to file a motion for default in cases involving parties who
have been served but who have not made an appearance, before the

next status conference.

Minute Entry dated August 11, 2009, p.3.
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Taishan has proffered no excuse for its failure to respond to Plaintiffs’ Complaint.
Accordingly, by the plain language of Fed.Rules Civ. Proc. 12 and 55, Plaintiffs and the class
they seek to represent are entitled to an entry of default and default judgment.

IV. CONCLUSION

WHEREFORE, for the reasons set forth above, Plaintiffs respectfully request that the
Court grant Plaintiffs’ motion for default judgment against Taishan Gypsum Co., Ltd.

Respectfully submitted,

Dated: November 18, 2009 /s/ Arnold Levin
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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Plaintiffs’ Motion for Default Judgment
against Taishan Gypsum Co., Ltd. and Memorandum in Support thereof and Declaration of
Arnold Levin in Support of Plaintiff’s Motion for Default Judgment Against Taishan Gypsum
Co., Ltd. has been served on Defendants’ Liaison Counsel, Kerry Miller, by e-mail and upon all
parties by electronically uploading the same to LexisNexis File & Serve in accordance with Pre-
Trial Order No. 6, and that the foregoing was electronically filed with the Clerk of Court of the
United States District Court for the Eastern District of Louisiana by using the CM/ECF System,
which will send a notice of electronic filing in accordance with the procedures established in
MDL 2047 on this 18" day of November, 2009.

/s/ Arnold Levin
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